Case 3:20-cv-00474-GCS Document 25 Filed 06/10/20 Page 1 of 12 Page ID #454




                       UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS
                           EAST ST. LOUIS DIVISON

DARREN BAILEY,                    )
                                  )
                       Plaintiff, )
                                  )
vs.                               )              Case No. 3:20-cv-00474-GCS
                                  )
GOVERNOR JAY ROBERT PRITZKER, )
in his official capacity,         )
                                  )
                       Defendant. )

                        PLAINTIFF’S REPLY TO
         DEFENDANT’S MEMORANDUM IN OPPOSITION TO REMAND

       DARREN BAILEY, by and through his undersigned attorneys, states as follows:

                                   INTRODUCTION

       Curiously, the Governor of the State of Illinois persists in his quest to wrest

jurisdiction over Plaintiff’s causes of action from an Illinois state court. He does so even

though this action involves only the construction of Illinois statutes and whether

Defendant took certain actions without statutory authority to do so: This case concerns

nothing more, nothing less.    Plaintiff has not requested an adjudication of his federal

constitutional rights or other rights and interests that may exist under federal law:

whether Defendant’s actions violate federally protected interests is neither here nor there

in this context.

       Plaintiff’s complaint, not extra-judicial statements or judicial pronouncements,

governs the question of subject matter jurisdiction, and the complaint and first amended

complaint at issue in this case do not so much as hint that Plaintiff is seeking vindication
Case 3:20-cv-00474-GCS Document 25 Filed 06/10/20 Page 2 of 12 Page ID #455




of his federally guaranteed rights and interests. Instead, Plaintiff alleges only that

Defendant lacked authority to issue certain of his proclamations, declarations and

executive orders.

        Defendant’s reliance on 28 U.S.C. §1343(a)(3) is entirely misplaced, and it certainly

does not provide an independent basis for jurisdiction.           First, nothing in Section

1343(a)(3) or cases construing it suggest that Defendant can simply rewrite Plaintiff’s

complaint and insert federal claims where none exist. Moreover, Section 1343(a)(3) is,

indeed, a relic of an era in which federal question jurisdiction was conditioned on an

amount in controversy and parties seeking vindication of their federal rights desperately

needed a distinct basis for federal jurisdiction in order to seek redress. The elimination

of the monetary threshold in Section 1331 removed that barrier to federal jurisdiction.

        Defendant’s ultra vires executive orders and proclamations may well be fodder for

future actions under the United States Constitution, the Constitution of the State of

Illinois, and federal statutes. However, a complaint seeking those remedies is nowhere

in the record, and this matter should be remanded to the Circuit Court, Clay County,

Illinois for further proceedings and for disposition.



                                       DISCUSSION

   I.      NEITHER PLAINTIFF’S COMPLAINT NOR HIS FIRST AMENDED
           COMPLAINT ESTABLISH A BASIS FOR FEDERAL JURISDICTION.

        The Defendant clearly wants Plaintiff’s complaint to be something it is not: an

assertion that Defendant’s actions are proscribed by either the United States Constitution

or a federal statute. However, there is no invocation of federally protected rights in either



                                                 2
Case 3:20-cv-00474-GCS Document 25 Filed 06/10/20 Page 3 of 12 Page ID #456




Plaintiff’s complaint or first amended complaint.         The absence of a federal issue in

Plaintiff’s pleadings preclude exercise of jurisdiction here.

       The United States Supreme Court has unequivocally directed that the existence of

federal question jurisdiction hinges on the allegations in the plaintiff’s complaint.

       Under our longstanding interpretation of the current statutory scheme, the
       question whether a claim "arises under" federal law must be determined by
       reference to the "well-pleaded complaint." Franchise Tax Board, 463 U.S., at
       9-10, 103 S. Ct., at 2846-2847. A defense that raises a federal question is
       inadequate to confer federal jurisdiction. Louisville & Nashville R. Co. v.
       Mottley, 211 U.S. 149, 29 S. Ct. 42, 53 L. Ed. 126 (1908). Since a defendant
       may remove a case only if the claim could have been brought in federal
       court, 28 U.S.C. § 1441(b), moreover, the question for removal jurisdiction
       must also be determined by reference to the "well-pleaded complaint."

Merrell Dow Pharm. v. Thompson, 478 U.S. 804, 808, 106 S. Ct. 3229 (1986). At the time,

federal law did not recognize a private right of action under the Federal Food, Drug and

Cosmetic Act. Thus, the complaint at issue did not contain a federal cause of action and

federal jurisdiction was lacking. See also Caterpillar, Inc. v. Williams, 482 U.S. 386, 392, 107

S. Ct. 2425 (1987) (“The presence or absence of federal-question jurisdiction is governed

by the "well-pleaded complaint rule," which provides that federal jurisdiction exists only

when a federal question is presented on the face of the plaintiff's properly pleaded

complaint . . . The rule makes the plaintiff the master of the claim; he or she may avoid

federal jurisdiction by exclusive reliance on state law.”) (internal citations omitted)

       The Complaint and First Amended Complaint in this case make it clear removal

was entirely improper. In this action, Plaintiff does not so much as hint that Defendant’s

Executive Orders, Declarations and Proclamations infringe on Plaintiff’s rights under the

Constitution or federal law. They may well so infringe and be actionable under federal




                                                   3
Case 3:20-cv-00474-GCS Document 25 Filed 06/10/20 Page 4 of 12 Page ID #457




law.    However, that is not what Plaintiff seeks in this action.            Plaintiff seeks a

determination that Defendant’s actions are invalid, not because they infringe on

fundamental rights guaranteed under federal law, but instead, because they exceed

Defendant’s authority under Illinois law.

       What Defendant wants is the ability to amend Plaintiff’s pleadings and insert

claims Plaintiff has not yet asserted.      However, as the Supreme Court admonished,

Plaintiff is the master of his claim, and cannot be compelled to assert federal claims in

order to legitimize a bad faith invocation of federal jurisdiction.

       Much as he did with his asserted authority under Illinois law, Defendant goes to

great lengths to contrive federal claims and causes of action in Plaintiff’s Complaint and

First Amended Complaint. Does Plaintiff claim that Defendant’s orders, proclamations

and declarations have the effect of restricting his ability to travel, ability to associate with

others, and practice his faith? He absolutely does make those allegations. However, the

crux of Plaintiff’s causes of action is Defendant’s lack of statutory authority.

       The Court should reject any suggestion that Plaintiff, via artful pleading, has

shrouded what are actually federal claims for the purpose of defeating federal

jurisdiction.   Plaintiff’s allegations are straightforward:    (a) Defendant issued certain

proclamations, executive orders, and declarations; (b) the proclamations, executive

orders, and declarations had the effect of restricting Plaintiff’s ability to travel, associate

with others, and practice his faith; and (c) Defendant had no statutory authority to do so.

There is nothing manipulative about seeking relief limited to those theories.




                                                   4
Case 3:20-cv-00474-GCS Document 25 Filed 06/10/20 Page 5 of 12 Page ID #458




         Defendant makes much of the state court judge’s statements on the record, as well

as Plaintiff’s extra-judicial statements and quotations, none of which can form the basis

for jurisdiction here.   Jurisprudence concerning federal jurisdiction makes it clear the

“well-pleaded complaint,” and not other quotations, pronouncements or extraneous

documents, governs the existence of federal jurisdiction. Thus, Plaintiff’s statements to

the press are of no moment and cannot impact assessment of his motion to remand.

Likewise, on-the-record statements of the state court judge, quoted by Defendant in his

opposition to remand, are not part of the calculus, and even if they could be considered,

it is clear he reached his conclusion on the basis of Defendant’s lack of statutory authority:

“The issue before me now is whether the Governor can ignore the Illinois and United

States Constitutions for more than 30 days. This court rules that the answer to that

question is a resounding no.” Governor’s Memorandum in Opposition to Remand [Doc. 24]

at 2. Clearly, the state court based its decision on Defendant’s authority under Illinois

law, not on the constitutionality of the Defendant’s actions.

         Federal jurisdiction is unquestionably lacking here.   Plaintiff’s pleadings do not

raise any claims under the United States Constitution or federal statutes. Defendant has

done nothing more than rewrite the Complaint and First Amended Complaint to suit his

needs.    That he cannot do, and this Court should remand this case to the Circuit Court,

Clay County, Illinois for further proceedings and disposition.




                                                 5
Case 3:20-cv-00474-GCS Document 25 Filed 06/10/20 Page 6 of 12 Page ID #459




   II.      SECTION 1343(a)(3) DOES NOT ESTABLISH AN INDEPENDENT BASIS
            FOR FEDERAL JURISDICTION, AND DOES NOT EMBRACE THE
            ALLEGATIONS IN PLAINTIFF’S PLEADINGS.

         Defendant’s exegesis concerning 28 U.S.C. §1343(a)(3) is interesting, but entirely

irrelevant in this case. The plain language of the statute, when applied to Plaintiff’s

causes of action, does not provide a jurisdictional hook. Furthermore, Section 1343 is a

vestige of a time when jurisdiction under Section 1331 was dependent on an amount in

controversy. Amendment of Section 1331 to remove the monetary component rendered

Section 1343(a)(3) superfluous. Furthermore, there is no authority whatsoever that the

Court should look beyond a “well-pleaded complaint” in order to assess the existence of

jurisdiction under Section 1343(a)(3).

         Section 1343 provides that

         [t]he district courts shall have original jurisdiction of any civil action
         authorized by law to be commenced by any person . . . to redress the
         deprivation, under color of State law, statute, ordinance, regulation, custom
         or usage, of any right, privilege or immunity secured by the Constitution of
         the United States or by any Act of Congress providing for equal rights of
         citizens or of all persons within the jurisdiction of the United States . . .

28 U.S.C. §1343(a)(3).

         Plainly, the statute is inapplicable in the case at bar. Yes, Plaintiff is a “person”

within the contemplation of the statute, but the applicability of Section 1343(a)(3) stops

there. Plaintiff has not sought, in this action, redress for the deprivation of a right,

privilege or immunity secured by the Constitution of the United States or by any Act of

Congress providing for equal rights.         Plaintiff has sought nothing more than (a) a

declaration that Defendant exceeded his authority under applicable Illinois statutes and




                                                  6
Case 3:20-cv-00474-GCS Document 25 Filed 06/10/20 Page 7 of 12 Page ID #460




(b) because of lack of a statutory basis, Plaintiff should be excused from compliance with

Defendant’s proclamations, executive orders, and declarations. Those allegations do not

form the basis for federal jurisdiction.

       Defendant seems to posit that federal jurisdiction is triggered whenever state

action infringes on a fundamental right and a plaintiff seeks relief from the state action,

no matter the basis for the plaintiff’s claim. Nothing in Section 1343(a)(3) or the authority

construing it gives the statute such breadth.        Would an action challenging a mayor’s

authority under a city’s ordinances to close a street, if it impaired a person’s ability to

travel or attend a religious service, be removable if the state actor did not like his or her

chances in a state court?      Of course not.     The Court should summarily reject such a

construction of the statute.

       Section 1343(a)(3) is a product of a different time, and its necessity has waned.

Myles v. U.S., 416 F.3d 551 (7th Cir. 2005).    The Seventh Circuit noted, albeit in dicta, that

“Section 1343(a)(3) covers only civil rights claims against state actors and has had no legal

effect since 1976, when Congress amended §1331 to eliminate any amount-in-controversy

requirement. (The point of §1343(a)(3) had been to allow civil-rights suits without regard

to the amount in controversy . . . ).” Id. at 554. See also Chapman v. Houston Welfare Rights

Org., 441 U.S. 600, 99 S. Ct. 1905 (1979) (“In reaching this conclusion, the Court of Appeals

first noted that § 1983 'is not a jurisdictional statute; it only fashions a remedy . . . Nor

could jurisdiction be founded on 28 U.S.C. § 1331, the general federal-question

jurisdictional statute, since the amount in controversy did not exceed $10,000.”).




                                                    7
Case 3:20-cv-00474-GCS Document 25 Filed 06/10/20 Page 8 of 12 Page ID #461




       Defendant makes it clear he is proceeding solely under Section 1343(a)(3), and

disavows any reliance on “arising under” jurisdiction as contemplated in Section 1331.

However, the clear implication of Chapman and Myles is that “arising under” jurisdiction

as contemplated in Section 1331 subsumes Section 1343(a)(3).        Thus, pursuant to the

analysis in Chapman and Myles, if jurisdiction is non-existent under Section 1331 it is

likewise lacking under Section 1343(a)(3). Since Defendant essentially concedes this

Court lacks jurisdiction under Section 1331, by implication it also lacks jurisdiction under

Section 1343(a)(3).

       The Defendant erroneously believes he discovered a well-spring of authority in

Spaulding v. Mingo County Board of Educ., 897 F. Supp. 284 (S.D. W. Va. 1995).          The

plaintiffs in that case asserted nothing but claims under various West Virginia statutes

and West Virginia common law. The District Court concluded that the plaintiffs “artfully

drafted” their complaint to avoid asserting federal claims, and, since claims under

various West Virginia statutes apparently ran parallel to similar federal statutes and the

United States Constitution. Ultimately, however, the Spaulding court remanded the case

to the West Virginia state court, and did so because of the importance of the questions of

state law presented.

       Unfortunately, the Spaulding court’s assessment of federal jurisdiction under

Section 1343(a)(3) was never tested on appeal. The court made no effort to explain why

a plaintiff who elects to assert only state law causes of action must be deemed to have

alleged federal claims as well, and it essentially ignored long-standing authority that a

plaintiff is the master of his complaint.




                                                8
Case 3:20-cv-00474-GCS Document 25 Filed 06/10/20 Page 9 of 12 Page ID #462




       The only plausible explanation for the Spaulding court’s decision is that it found

“embedded” federal claims that conferred jurisdiction.         However, the court did not

have the benefit of the Supreme Court’s decision in Grable & Sons Metal Products, Inc. v.

Darue Engineering & Manufacturing, 545 U.S. 308, 312 (2005). Where federal law does

not create the cause of action, "federal jurisdiction over a state law claim will [only] lie

if a federal issue is: (1) necessarily raised, (2) actually disputed, (3) substantial, and (4)

capable of resolution in federal court without disrupting the federal-state balance

approved by Congress." Id. at 258. As Plaintiff explained in his Memorandum in Support

of Emergency Motion to Remand, no federal claims are necessarily raised in this case, there

is no actual dispute in this action concerning contravention of Plaintiff’s federal rights

(he seeks only a determination of Defendant’s authority under Illinois law), the

infringement of fundamental rights is not essential to a determination of Defendant’s

authority under state law, and construction of the Illinois Emergency Management

Agency Act and the Illinois Department of Public Health Act, i.e., the core of Plaintiff’s

causes of action, is not “capable of resolution in federal court without disrupting the

federal-state balance.” [Doc. 8 at 5-7].

       Defendant claims that “courts across the county have continued to recognize

Section 1343(a)(3) as good law, and a valid basis for federal jurisdiction.” Governor’s

Memorandum in Opposition to Remand [Doc. 24 at 20]. Defendant then provides citations

to a smattering of cases that purport to exercise jurisdiction under Section 1343(a)(3).

However, Defendant conveniently omits that in each of the cases in his string citation the

plaintiffs specifically stated claims under 42 U.S.C. §1983 and the courts found they had




                                                  9
Case 3:20-cv-00474-GCS Document 25 Filed 06/10/20 Page 10 of 12 Page ID #463




jurisdiction under 28 U.S.C. §§1331 and 1343(a)(3). See Jhagroo v. Brown, 2020 WL 419450,

*1 (S.D.N.Y. 2020); Willis v. Tejeda, 2019 WL 498952, *1 (N.D. Ill. 2019); Correction Officers’

Benevolent Ass'n, Inc. v. City of New York, 415 F. Supp. 3d 464, 466–67 (S.D.N.Y. 2019).

       Other authorities Defendant relies upon are completely inapplicable in this

situation. For example, in Rodriguez v. Comas, 888 F.2d 899 (1st Cir. 1989), the plaintiff

specifically stated a cause of action under 42 U.S.C. §1983 and the Court was not called

upon to find non-existent causes of action. Equally unhelpful to Defendant’s position is

Campbell v. Gadsden County Dist. School Bd., 534 F.2d 650 (5th Cir. 1976). In considering

the question of jurisdiction, the Fifth Circuit noted that “[f]ederal question jurisdiction

was also asserted under 28 U.S.C. § 1331, but the record does not affirmatively establish

the existence of an amount in controversy in excess of $10,000.” Id. at 653, n. 7. As noted

above, the obstacle to federal jurisdiction under Section 1331 has been removed.

       In sum, the Court should reject the Defendant’s assertions that Section 1343(a)(3)

provides an independent basis for jurisdiction in this case. Plaintiff has alleged nothing

but claims that Defendant exceeded his authority under Illinois law. There may be a day

when Plaintiff (and others) seek to vindicate their rights under federal law. However,

that is not this case.



                                      CONCLUSION

       The Defendant has done nothing more than attempt to recast Plaintiff’s pleadings

as setting forth claims that are simply not there. In this action, Plaintiff seeks nothing

more than a declaration concerning Defendant’s alleged authority and an injunction




                                                 10
Case 3:20-cv-00474-GCS Document 25 Filed 06/10/20 Page 11 of 12 Page ID #464




relieving Plaintiff from compliance with certain of Defendant’s executive orders,

declarations and proclamations. None of Plaintiff’s pleadings request an adjudication

concerning his right under federal law.

       At the end of the day, Defendant is forum shopping.          He sought relief in the

Illinois Supreme Court and was rejected there. He filed a motion to transfer Plaintiff’s

Clay County, Illinois case to Sangamon County, and the Circuit Court denied that

motion. Facing a hearing on Plaintiff’s motion for summary judgment, Defendant then

concocted a removal to this Court.

       For the reasons set forth herein and in Plaintiff’s Emergency Motion to Remand

and Memorandum in Support of Emergency Motion to Remand, the Court should (A)

remand this case immediately to the Circuit Court, Clay County, Illinois and (B) award

Plaintiff his attorney fees, costs and expenses associated with this matter



                                          Respectfully submitted,

                                          SILVER LAKE GROUP, LTD.

                                          /s/ Steven M. Wallace
                                   By :_________________________________
                                          Steven M. Wallace #6198917
                                          6 Ginger Creek Village Drive
                                          Glen Carbon, IL 62034
                                          Phone: (618) 692-5275
                                          Fax: (888) 519-6101
                                          Email: steve@silverlakelaw.com

                                          Counsel to Darren Bailey




                                                11
Case 3:20-cv-00474-GCS Document 25 Filed 06/10/20 Page 12 of 12 Page ID #465




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies on the 10th day of June, 2020, that a true and
correct copy of the above and foregoing pleading was served by electronic filing in the
CM/ECF system of the United States District Court for the Southern District of Illinois.



                                               /s/ Steven M. Wallace
                                               ____________________________________




                                              12
